Docusign Envelope ID: 77A82498-A37B-4954-80FF-52E7D98BC741
                      Case 1:20-cv-03010-APM            Document 1212-7        Filed 04/09/25   Page 1 of 3




                                         ‭IN THE UNITED STATES DISTRICT COURT‬
                                              ‭FOR THE DISTRICT OF COLUMBIA‬



              ‭United States of America,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03010-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬




              ‭State of Colorado,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03715-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬



                                        ‭DECLARATION OF MICHAEL ZWIBELMAN‬

             ‭I, Michael Zwibelman, declare as follows:‬

                       ‭1.‬    ‭I am currently employed by Google LLC (“Google”) as a senior product counsel‬

             ‭for Google Search Ads. I graduated from The University of Chicago Law School in 1999 and‬

             ‭have been an in-house counsel for Google since 2010, based in Mountain View (2010-16) and‬

             ‭San Francisco (2016-present). I am a member in good standing of the State Bar of California.‬

                       ‭2.‬    ‭As part of my role as senior product counsel, I manage a team of product counsel‬

             ‭that provides Google product managers and engineers with legal advice and analysis on a‬

             ‭number of products, including Ad Sense for Search, Web Search Syndication, Programmable‬
                                                                  ‭1‬
Docusign Envelope ID: 77A82498-A37B-4954-80FF-52E7D98BC741
                  Case 1:20-cv-03010-APM               Document 1212-7     Filed 04/09/25      Page 2 of 3




             ‭Search Engine, and related search and search advertising syndication products and features. In‬

             ‭addition to my management responsibilities, I also have personally served as lead product‬

             ‭counsel for these products and features as well.‬

                     ‭3.‬     ‭On a number of occasions I have evaluated the commercial sensitivity of‬

             ‭information regarding search ads products and determined whether disclosing particular‬

             ‭information would harm Google’s competitive standing. For example, I have advised internal‬

             ‭teams and outside counsel on which materials submitted to regulators should be subject to‬

             ‭confidential treatment.‬

                     ‭4.‬     ‭I have reviewed PRX0146 (GOOG-DOJ-33893790), which is a slide deck titled‬

             ‭“DuckDuckGo Deal Exploration.” The document contains revenue share percentages that‬

             ‭remain commercially sensitive because they were used for an internal assessment of a particular‬

             ‭proposal at a particular point in time. Google has numerous syndication relationships, and the‬

             ‭financial terms are not always the same across partners or over time. Disclosure of these‬

             ‭percentages could place Google at a competitive disadvantage by informing other partners and‬

             ‭other providers of ads syndication services what Google was confidentially considering in this‬

             ‭scenario. Google seeks to redact only the internal revenue share percentages, and not any other‬

             ‭portion of this document.‬

                     ‭5.‬     ‭I have also reviewed RDX0032 (GOOG-DOJ-34933263), which is a document‬

             ‭titled “gTech Cases on Search Partner Network.” The document summarizes complaints by‬

             ‭advertisers about a particular practice observed on certain sites that syndicate search ads from‬

             ‭Google. The document includes comments by Google employees about a specific method‬

             ‭proposed for resolving the practice that was generating the complaints. This detail could harm‬

             ‭Google’s competitive standing if disclosed by revealing to the sites in question how to continue‬



                                                                  ‭2‬
Docusign Envelope ID: 77A82498-A37B-4954-80FF-52E7D98BC741
                  Case 1:20-cv-03010-APM               Document 1212-7          Filed 04/09/25   Page 3 of 3




             ‭engaging in the practice that generated the complaints, which could lead to dissatisfaction among‬

             ‭advertisers who are affected. Google seeks to redact only the description of the specific method‬

             ‭proposed and the name of an advertiser, and not any other portion of this document.‬

                     ‭6.‬     ‭I have reviewed PRX0158 (GOOG-DOJ-33773909), which appears to be an‬

             ‭internal briefing prepared for members of Google’s Search and News organization in connection‬

             ‭with a planned meeting with a company that purchases ads and cloud services from Google.‬

             ‭The document includes specific dollar amounts and percentages related to the customer’s‬

             ‭expenditures on Google display ads, YouTube ads, and other products and services. This kind of‬

             ‭customer-specific financial information is commercially sensitive because individual Google ads‬

             ‭customers often do not want their advertising investments or strategies shared with other‬

             ‭advertisers in their industry or the general public. Moreover, Google’s ability to compete with‬

             ‭other ad and cloud-computing platforms would be undermined if they had access to the amounts‬

             ‭spent and results realized with Google in recent years. Google does not seek to redact any aspect‬

             ‭of this document beyond the customer-specific financial metrics.‬

                                                       ‭*‬   ‭*‬         ‭*‬   ‭*‬

             ‭I declare under penalty of perjury that the foregoing is true and correct.‬


             ‭Executed on this 8th day of April 2025, in San Francisco, California.‬


                                                                          ‭ _________________________‬
                                                                          _
                                                                          ‭Michael Zwibelman‬




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